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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

DARRELL SULLIVAN,

      Plaintiff,                                  CASE NO.:

v.

ONEMAIN FINANCIAL GROUP, LLC

      Defendant.
                                      /

                   COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, DARRELL SULLIVAN, by and through the

undersigned counsel, and sues Defendant, ONE MAIN FINANCIAL GROUP, LLC, and

in support thereof respectfully alleges violations of the Telephone Consumer Protection

Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                   INTRODUCTION

          1.   The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.   “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.   “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


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intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.       According    to   the   Federal   Communications     Commission      (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.               There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless     Phones,   Federal    Communications      Commission,     (May     27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                             JURISDICTION AND VENUE


        5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       7.       The alleged violations described herein occurred in Woodford County,

Kentucky. Accordingly, venue is appropriate with this Court under 28 U.S.C.




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§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                              FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Kentucky, residing

in Woodford County, Kentucky.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       10.     Defendant is a corporation which was formed in Maryland with its

principal place of business located at 100 International Drive 16th Floor Baltimore,

Maryland 21202 and conduct business in the state of Kentucky.

       11.     Defendant called Plaintiff approximately one hundred and fifty (150)

times in an attempt to collect an alleged debt.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an

auto-dialer because of the vast number of calls he received and because he heard a pause

when he answered his telephone before a voice came on the line and he received

prerecorded messages from Defendant.



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       13.        Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (859) ***-7982, and was the called party and recipient of Defendant’s calls.

       14.        Defendant placed an exorbitant number of automated calls to Plaintiff’s

cellular telephone (859) ***-7982 in an attempt to collect on an alleged loan.

       15.        Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following telephone number:

(850) 260-8830.

       16.        On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone.

       17.        In or about May 2017, Plaintiff made a call to Defendant from his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant known only as “Joey Fields” and informed the agent that he would like to

make a payment and also demanded the calls to his cellular telephone cease. The agent of

Defendant informed Plaintiff that he was allowed to call up to seven times a day. Plaintiff

once again demanded the calls to cease, made his payment arrangement and ended the

telephone call.

       18.        Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was knowing and willful and done so without the “express

consent” of Plaintiff.

       19.        Despite clearly and unequivocally revoking any consent Defendant may

have believed they had to call Plaintiff on his cellular telephone, Defendant continues to

place automated calls to Plaintiff.



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       20.     Plaintiffs numerous conversations with Defendant’s agents/representatives

over the telephone where he demanded a cessation of calls were in vain as Defendant

continues to bombard him with automated calls unabated.

       21.     Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back day, with such

frequency as can be reasonably expected to harass.

       22.     Due to the tremendous volume of calls Plaintiff received over a lengthy

period of time, he was not able to properly catalogue each and every call, however

attached hereto as Exhibit A is a small sampling of some of the automated calls Plaintiff

received to his cellular telephone from Defendant.

       23.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

       24.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant, to remove the

number.

       25.     Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

       26.     Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.



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        27.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        28.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        29.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant’s call list.

        30.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        31.    Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        32.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        33.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

        34.    From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the telephone was ringing from

Defendant’s call.



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       35.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

his time. For calls he answered, the time he spent on the call was unnecessary as he

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the telephone and deal with missed call notifications and call logs that

reflect the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular telephone, which are designed to inform the user of important missed

communications.

       36.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

which are designed to inform the user of important missed communications.

       37.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

phone’s battery power.

       38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s telephone or network.




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        39.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely his cellular telephone and his cellular telephone services.

        40.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by stress, distress

and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

        41.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty

(40) as if fully set forth herein.

        42.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        43.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against ONE MAIN FINANCIAL GROUP, LLC for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.



                                                    Respectfully submitted,


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                                         /s/ Octavio Gomez
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